Case 3:21-cv-00271-NJR-GCS Document 162 Filed 06/21/24 Page 1 of 6 Page ID #2059




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS

     ANTONIO HUNTER, #M33269,                         )
                                                      )
                            Plaintiff,                )
                                                      )
     v.                                               )    Case No. 3:21-cv-00271-NJR
                                                      )
     ILLINOIS DEPARTMENT OF                           )
     CORRECTIONS, WEXFORD HEALTH                      )
     SOURCES, INC., STEVE MEEKS,                      )
     and STEPHEN RITZ,                                )
                                                      )
                            Defendants.               )


    DEFENDANTS DR. STEPHEN RITZ AND WEXFORD HEALTH SOURCES, INC.’S
      REPLY TO PLAINTIFF’S OBJECTIONS TO DEFENDANTS’ RULE 26(A)(3)
                              DISCLOSURES

          COME NOW Defendants, Dr. Stephen Ritz and Wexford Health Sources, Inc., by and

  through their undersigned counsel, Sandberg Phoenix & von Gontard P.C., and for their Reply to

  Plaintiff’s Objections to Defendants Ritz and Wexford’s Rule 26(a)(3) Disclosures, hereby state

  as follows:

          B.    Witnesses Defendants Will Call If The Need Arises

  Plaintiff’s Objections: Plaintiff objects to Defendants Wexford and Dr. Ritz’s disclosure of
  Bobby Blum, Heather Davis, and Sean Glasgow as witnesses Defendants may present at trial.
  Defendants did not disclose these witnesses in their initial disclosures or at any time prior to
  filing their 26(a)(3) disclosures on June 3, 2024. Plaintiff objections to these witnesses due to
  Defendants’ late disclosure, as Plaintiff has not had the opportunity to depose them or otherwise
  gather information about them or their testimony. Plaintiff would suffer under prejudice from the
  surprise of their testimony. Plaintiff further objects that the witnesses’ testimony would be
  irrelevant.

          Defendants’ Reply: In Defendants’ Rule 26(a)(1) disclosures, Defendants Ritz and

          Wexford disclosed witnesses to include “…individuals named within the documents

          produced herewith and Plaintiff’s medical records.” Therefore, disclosures of



  26027791.v1
Case 3:21-cv-00271-NJR-GCS Document 162 Filed 06/21/24 Page 2 of 6 Page ID #2060




        Bobby Blum, Heather Davis, and Sean Glasgow were made as their names are

        contained within Plaintiff’s medical records.

                Such a disclosure, including the Final Pretrial Disclosure of these individuals,

        is sufficient to identify the treaters and the scope of their respective prospective

        testimony. Valdez v. Lowry, No. 18 CV 5434, 2021 U.S. Dist. LEXIS 232315, at *52

        (N.D. Ill. Dec. 5, 2021). In evaluating a similar issue pertaining to disclosure of

        witnesses and use of medical records at trial, a Court in the Seventh Circuit found

        no sufficiency issue with a disclosure stating “any and all medical personnel who

        provided treatment to [him] at Jesse Brown VA Medical Center” in Rule 26(a)

        disclosures. Id. at *49.

                If determined to be a delayed disclosure, the determination of whether a Rule

        26(a) violation is justified or harmless is entrusted to the broad discretion of the

        district court. Mid-America Tablewares, Inc. v. Mogi Trading Co., Ltd., 100 F.3d 1353,

        1363 (7th Cir. 1996). The Seventh Circuit has provided the following factors to guide

        the district court’s discretion: (1) the prejudice or surprise to the party against whom

        the evidence is offered; (2) the ability of the party to cure the prejudice; (3) the

        likelihood of disruption to the trial; and (4) the bad faith or willfulness involved in

        not disclosing the evidence at an earlier date. David v. Caterpillar, Inc., 324 F.3d 851,

        857 (7th Cir. 2003). Evaluating each factor in turn:

                a.     Plaintiff will not be prejudiced and should not be surprised at the

                       disclosure. All three individuals were noted in Plaintiff’s records

                       disclosed throughout the life of this matter. Having not requested the

                       depositions of any party prior to the end of the discovery deadline,



                                                2
  26027791.v1
Case 3:21-cv-00271-NJR-GCS Document 162 Filed 06/21/24 Page 3 of 6 Page ID #2061




                         Plaintiff cannot now claim prejudice via the lack of an opportunity to

                         depose any person listed in Plaintiff’s medical records.

                 b.      As there is no prejudice, there is no need to determine if there is an

                         ability to cure same. Plaintiff vaguely asserts to “surprise of their

                         testimony,” but Defendants disclosed as to each witness the scope of the

                         subject matter to which they would testify. See Doc. 153, pg. 2.

                 c.      Defendants have no reason to believe that trial will be disrupted by the

                         calling of these witnesses, or any testimony offered therein.

                 d.      The delay, if any, was not willful and was not made in bad faith.

        D.       Exhibits

                Exhibits Defendants Expect to Offer at Trial:

                      o May 11, 2016 Memorandum – Hunter 00340-00341

        Plaintiff’s Objections: Plaintiff objects to the introduction of these medical records on the
        grounds that they are irrelevant and are hearsay. Defendants have no presented an expert
        witness to authenticate and interpret these records, making them inadmissible. There is no
        proper foundation to establish the relevance and reliability of the medical records.
        Further, the source of the records cannot be cross-examined.

                 Defendants’ Reply: Records of a regularly conducted activity are admissible

                 as business records under Rule 803(6).

                      Though argued to be unnecessary, if required by the Court, then

                 Defendants seek leave to disclose a witness qualified to authenticate the

                 documents. Multiple courts have found the failure to disclose witnesses

                 whose sole purpose is to authenticate documents the plaintiff knew about is

                 harmless. Valdez v. Lowry, No. 18 CV 5434, 2021 U.S. Dist. LEXIS 232315, at

                 *51 (N.D. Ill. Dec. 5, 2021).



                                                  3
  26027791.v1
Case 3:21-cv-00271-NJR-GCS Document 162 Filed 06/21/24 Page 4 of 6 Page ID #2062




                   o Little Company of Mary Hospital Records – Hunter 00451-00456, 00481-

                       000483, 00505-00510, 000562-000568

        Plaintiff’s Objections: Plaintiff objects to the introduction of these medical records on the
        grounds that they are irrelevant and are hearsay. Defendants have no presented an expert
        witness to authenticate and interpret these records, making them inadmissible. There is no
        proper foundation to establish the relevance and reliability of the medical records.
        Further, the source of the records cannot be cross-examined.

                Defendants’ Reply: Medical records are admissible as business records

                under Rule 803(6) if a proper foundation as to the reliability of the records is

                made. Additionally, if a certification is provided, a sponsoring witness to

                introduce the medical records is not necessary. Valdez v. Lowry, No. 18 CV

                5434, 2021 U.S. Dist. LEXIS 232315, at *49 (N.D. Ill. Dec. 5, 2021). Such a

                certification can be produced if required by the Court. See Hunter 000447.

                As to the relevance issue, these records relate to care Plaintiff received after

                being noted to complain about problems with his rectal prolapse following

                his 2012 rectal prolapse surgery and before his 2017 reincarceration.

                Plaintiff’s ability to obtain care for other conditions goes against his claim

                that he was unable to obtain care outside the prison for his rectal prolapse.

                As to hearsay, Rule 803(4) excepts medical records from the hearsay rule.

                   Though argued to be unnecessary, if required by the Court, then

                Defendants seek leave to disclosure a witness qualified to authenticate the

                documents. Multiple courts have found the failure to disclose witnesses

                whose sole purpose is to authenticate documents the plaintiff knew about is

                harmless. Id. at *51.




                                                  4
  26027791.v1
Case 3:21-cv-00271-NJR-GCS Document 162 Filed 06/21/24 Page 5 of 6 Page ID #2063




                   o Southern Illinois University – HUNTER-SIU 001-016

        Plaintiff’s Objections: Plaintiff objects to the introduction of these medical records on the
        grounds that they are irrelevant and are hearsay. Defendants have no presented an expert
        witness to authenticate and interpret these records, making them inadmissible. There is no
        proper foundation to establish the relevance and reliability of the medical records.
        Further, the source of the records cannot be cross-examined.

                Defendants’ Reply: Medical records are admissible as business records

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                5434, 2021 U.S. Dist. LEXIS 232315, at *49 (N.D. Ill. Dec. 5, 2021). Such a

                certification can be produced if required by the Court. See Hunter 000447.

                As to the relevance issue, these records relate to care Plaintiff received after

                being noted to complain about problems with his rectal prolapse following

                his 2012 rectal prolapse surgery and before his 2017 reincarceration.

                Plaintiff’s ability to obtain care for other conditions goes against his claim

                that he was unable to obtain care outside the prison for his rectal prolapse.

                As to hearsay, Rule 803(4) excepts medical records from the hearsay rule.

                   Though argued to be unnecessary, if required by the Court, then

                Defendants seek leave to disclosure a witness qualified to authenticate the

                documents. Multiple courts have found the failure to disclose witnesses

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                harmless. Id. at *51.




                                                  5
  26027791.v1
Case 3:21-cv-00271-NJR-GCS Document 162 Filed 06/21/24 Page 6 of 6 Page ID #2064




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                                                 Inc. and Stephen Ritz, M.D.


                                         Certificate of Service

          I hereby certify that on this the 21st day of June 2024, the foregoing was filed electronically
  with the Clerk of the Court to be served by operation of the Court’s electronic filing system upon
  the following:

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                                                    6
  26027791.v1
